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FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUN
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cLAUDIA :BENSON, -W.D. ci_-i'r:`i rEP:S-;>S,E
"nn
Plaintiff,
vs. No. 03»2088~Ma

PENSKE TRUCK LEASING, ET AL.,

Defendants.

 

ORDER GRANTING MOTION TO CONTINUE TRIAL
AND AMENDING SCHEDULE

 

Pursuant to the March llr 2005, joint motion of the parties
to continue the trial in this matter, a conference Was held on
March lB, 2005. Participating on behalf of the plaintiff were
Patrick Ardis and Sharon Petty. Participating on behalf of the
defendants were Layne Holley and Chris Nearn, and by telephone,
John Butler. For good cause shown, motion is granted and the

court finds that the schedule in this matter should be amended as

follows:
l. As to the issues discussed at the conference, the
discovery deadline is extended to April 15, 2005.
2. Defendants' deadline for production of Ivey documents
and plaintiff's deadline for notification of intent to
use Klem as an expert is April l, 2005.
3. Supplemental dispositive motions are due by May 16,

2005.

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4. The parties will submit a proposed joint pretrial order
by July 29, 2005.

5. A pretrial conference will be held on August 5, 2005,
at 9:30 a.m.

6. The jury trial is tentatively reset to Monday, August

22, 2005, and is expected to take 5 days.

All other dates remain in effect as previously set. Absent
good cause, the amended scheduling dates set by this order will

not be modified or extended.

/¢V?-

So ORDERED this day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

 

thice of Distribution

This notice confirms a copy of the document docketed as number 192 in
case 2:03-CV-02088 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

